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1835/15-6818.UD


                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

LINDA S. VANDENBURGH,                                 )
                                                      )
                       Plaintiff,                     )
                                                      )
                       v.                             )
                                                      )
Bannockburn Police Officer ROBERT                     ) No.: 1:15-CV-06191
OGDEN; Highland Park Police Officer                   )
GERALD CAMERON; Highland Park Police                  )
Officer PHILIP DELAURENTIS; Highland                  )
Park Police Officer AMY HYNDMAN;                      )
Deerfield Police Officer JOHN DOE #1;                 )
Highland Park Police Officer JOHN DOE #2;             ) Judge Sara L. Ellis
RAVINIA FESTIVAL ASSOCATION, an                       )
Illinois Not-For-Profit Organization; THE             )
CITY OF HIGHLAND PARK, a Municipal                    )
Corporation; THE VILLAGE OF                           )
BANNOCKBURN, a Municipal Corporation;                 )
and THE VILLAGE OF DEERFIELD, a                       )
Municipal Corporation,                                )
                                                      )
                       Defendants.                      Magistrate Judge Maria Valdez
                                                      )


            THE HIGHLAND PARK DEFENDANTS’ UNOPPOSED MOTION
             TO RE-SCHEDULE THE FINAL PRE-TRIAL CONFERENCE

       Defendants, THE CITY OF HIGHLAND PARK, GERALD CAMERON, AMY

HYNDMAN, and PHILIP DELAURENTIS (“THE HIGHLAND PARK DEFENDANTS”), by

and through one of their attorneys, WILLIAM W. KURNIK, of KNIGHT HOPPE KURNIK &

KNIGHT, LTD., moves this Honorable Court to reschedule the final pre-trial conference in this

matter and in support thereof state as follows:




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        1.     The undersigned is lead trial counsel for the Highland Park Defendants in this

action and has acted in that capacity since this action’s inception.

        2.     On August 14, 2018, a status conference was held in this matter. Unfortunately,

due to a scheduling conflict, I was unable to personally attend the status conference, and one of

my associates appeared on behalf of the Highland Park Defendants.

        3.     During the August 14, 2018 status hearing, the Court set a trial date of October

15, 2018 and a final pre-trial conference date of September 21, 2018.

        4.     The associate attorney who appeared in my stead during the August 14, 2018

status conference had access to my trial calendar, but not my personal calendar.

        5.     While I have no scheduling conflicts for trial the week of October 15, 2018, I

unfortunately have a scheduling conflict for the September 21, 2018 date for the final pre-trial

conference.   Specifically, I have a pre-paid family vacation scheduled out of the country

beginning on September 21, 2018 and I will not be returning to the office until October 2, 2018.

        6.     I have conferred with counsels for both Plaintiff and Ravinia Festival about my

scheduling conflict, and they have both indicated that they have no objection to rescheduling the

final pre-trial conference until after October 2, 2018.

        7.     This motion is not brought in bad faith or any desire to unduly delay proceedings

in this matter and the relief sought would not prejudice any of the parties.

        WHEREFORE, the Highland Park Defendants, respectfully request that this Honorable

Court enter an order rescheduling the final pre-trial conference to a date subsequent to October 2,

2018.

                                              Respectfully Submitted,

                                              /s/ William W. Kurnik



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                                 CERTIFICATE OF SERVICE

       The undersigned, a non-attorney, hereby certifies that on August 15, 2018, the foregoing

THE HIGHLAND PARK DEFENDANTS’ UNOPPOSED MOTION TO RE-SCHEDULE

THE FINAL PRE-TRIAL CONFERENCE was filed with the court using the CM/ECF

system which sent notification of such filing to all attorneys of record.

                                                       /s/ William W. Kurnik
                                                       WILLIAM W. KURNIK #1550632




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